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                                                 1    BUCHALTER
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                                                 8
                                                 9                          UNITED STATES DISTRICT COURT
                                         10                               CENTRAL DISTRICT OF CALIFORNIA
                                         11
                                         12 SARAH GAGAN, an individual,                            Case No. 5:22-cv-00680-SSS-SP
                                            CLAIRE GAGAN, an individual, and                       Hon. Sunshine S. Sykes
                                         13 HALO’S HEART, LLC, a California
                                            Limited Liability Company,                             DECLARATION OF SARAH
                                         14                                                        GAGAN FILED IN SUPPORT OF
                                                         Plaintiffs,                               MOTION FOR PRELIMINARY
                                         15                                                        INJUNCTION
                                                  v.
                                         16                                                        [Filed Concurrently with Notice of
                                            MARC ANTOINE GAGNON, an                                Application for Preliminary
                                         17 individual; MEGGIE ROY, an individual,                 Injunction and [Proposed] Order]
                                         18                          Defendants.
                                                                                                   Date:    January 13, 2023
                                         19                                                        Time:    2:00 PM
                                         20                                                        Dept.    2
                                         21
                                         22
                                         23
                                                                            DECLARATION OF SARAH GAGAN
                                         24
                                                             I, SARAH GAGAN, am the sole member and manager of HALO’S HEART,
                                         25
                                                     LLC. I make this declaration of my own personal knowledge. If called upon to testify,
                                         26
                                                     I could and would testify competently to the truth of the matters stated herein.
                                         27
                                         28
          BUCHALTER
A P R O F E S SI O N A L C O R P O R A T I O N        GAGAN DECL. IN SUPPORT OF APPLICATION FOR
               S AN D I EGO
                                                      PRELIMINARY INJUNCTION
                                                     BN 73210960v1
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                                                 1           1.      This declaration is submitted in support of HALO’S HEART, LLC’S
                                                 2 Motion for a Preliminary Injunction in the above-entitled matter.
                                                 3           2.      On February 11, 2020, I purchased a single family residence located at
                                                 4 72646 Bel Air Road, Palm Desert, California 92260, Riverside County Assessor’s
                                                 5 Parcel Number 628-181-002-0 (the “Palm Desert Property”). The Palm Desert
                                                 6 Property is a 3 bedroom, 2.5 bathroom, 1,850 square foot home in Palm Desert,
                                                 7 California. I subsequently transferred the Palm Desert Property to my limited liability
                                                 8 company, Halo’s Heart, LLC.
                                                 9           3.      Attached hereto as Exhibit “A” is a true and correct copy of the Grant
                                         10 Deed for the Palm Desert Property.
                                         11                  4.      Following the purchase of the Palm Desert Property, Halo’s Heart, LLC
                                         12 entered into a written lease agreement with Defendants Marc Antoine Gagnon
                                         13 (“Marc”) and Meggie Roy (“Meggie”) wherein Defendants Marc and Meggie agreed
                                         14 to lease the Palm Desert Property from Halo’s Heart (the “Lease Agreement”). The
                                         15 Lease Agreement had an effective date of February 1, 2020.
                                         16                  5.      Attached hereto as Exhibit “B” is a true and correct copy of the Lease
                                         17 Agreement.
                                         18                  6.      Halo’s Heart, LLC also caused to be drafted an option agreement with
                                         19 Marc and Meggie, as optionees, which granted them an option to purchase the Palm
                                         20 Desert Property at the end of their lease term (the “Option Agreement”). In
                                         21 consideration of this option, Marc and Meggie were required to pay $100 to Halo’s
                                         22 Heart within 5 days of the execution of the Option Agreement. The $100
                                         23 consideration was never paid.
                                         24                  7.      Attached hereto as Exhibit “C” is a true and correct copy of the Option
                                         25 Agreement referenced in HALO’S HEART, LLC’S Application for a Preliminary
                                         26 Injunction in the above-entitled matter.
                                         27                  8.      Marc Gagnon and Meggie Roy have been residing at the Bel Air
                                         28 Property since early 2020, and have never paid a single month’s worth of rent, nor
          BUCHALTER
A P R O F E S SI O N A L C O R P O R A T I O N
               S AN D I EGO
                                                                                                    -2-
                                                                     GAGAN DECL. IN SUPPORT OF APPLICATION FOR PRELIMINARY INJUNCTION
                                                     BN 73210960v1
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                         EXHIBIT A
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                          EXHIBIT B
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                          EXHIBIT C
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